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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

BIO GEN, LLC, DRIPPERS VAPE SHOP, LLC,                                   PLAINTIFFS
THE CIGARETTE STORE LLC d/b/a SMOKER
FRIENDLY, and SKY MARKETING
CORPORATION d/b/a HOMETOWN HERO

v.                          Case No. 4:23-CV-718 (BRW)

THE STATE OF ARKANSAS; GOVERNOR                                       DEFENDANTS
SARAH HUCKABEE SANDERS
in her official capacity; ATTORNEY GENERAL
JOHN TIMOTHY GRIFFIN
in his official capacity;
TODD MURRAY, SONIA FONTICIELLA,
DEVON HOLDER, MATT DURRETT,
JEFF PHILLIPS, WILL JONES, TERESA HOWELL,
BEN HALE, CONNIE MITCHELL, DAN TURNER,
JANA BRADFORD, FRANK SPAIN, TIM BLAIR,
KYLE HUNTER, DANIEL SHUE, JEFF ROGERS,
DAVID ETHREDGE, TOM TATUM, II,
DREW SMITH, REBECCA REED MCCOY,
MICHELLE C. LAWRENCE, DEBRA BUSCHMAN,
TONY ROGERS, NATHAN SMITH, CAROL CREWS,
KEVIN HOLMES, CHRIS WALTON,
and CHUCK GRAHAM, each in his or her official capacity
as a prosecuting attorney for the State of Arkansas;
ARKANSAS DEPARTMENT OF FINANCE
AND ADMINISRTATION; ARKANSAS
TOBACCO CONTROL BOARD; ARKANSAS
DEPARTMENT OF AGRICULTURE; and
ARKANSAS STATE PLANT BOARD

     PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER
      OR ALTERNATIVE MOTION FOR PRELIMINARY INJUNCTION

       Plaintiffs, Bio Gen, LLC (“Bio Gen”), Drippers Vape Shop, LLC (“Drippers”),

 The Cigarette Store LLC d/b/a Smoker Friendly (“Smoker Friendly”), and Sky

 Marketing Corporation d/b/a Hometown Hero (“Sky Marketing”) (collectively,

 “Plaintiffs”), by counsel, and pursuant to Federal Rule of Civil Procedure 65, hereby
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move this Court to issue a temporary restraining order, or alternatively for a

preliminary injunction, against Defendants, The State of Arkansas (“Arkansas”),

Governor Sarah Huckabee Sanders in her official capacity (“Governor Sanders”),

Attorney General John Timothy Griffin in his official capacity, Todd Murray, Sonia

Fonticiella, Devon Holder, Matt Durrett, Jeff Phillips, Will Jones, Teresa Howell, Ben

Hale, Connie Mitchell, Dan Turner, Jana Bradford, Frank Spain, Tim Blair, Kyle

Hunter, Daniel Shue, Jeff Rogers, David Ethredge, Tom Tatum, II, Drew Smith,

Rebecca Reed McCoy, Michelle C. Lawrence, Debra Buschman, Tony Rogers, Nathan

Smith, Carol Crews, Kevin Holmes, Chris Walton, and Chuck Graham, each in his or

her official capacity as a prosecuting attorney for the State of Arkansas

(“Prosecutors”); Arkansas Department of Finance and Administration, Arkansas

Tobacco Control Board, Arkansas Department of Agriculture; and Arkansas State

Plant Board (collectively, “Defendants”). No expedited discovery is anticipated in this

matter at this time, and there are no factual issues to resolve given that the case raises

primarily legal issues. Plaintiffs therefore request that the Court set this matter for

oral argument as soon as convenient for the Court and grant their Motion.

       As set forth more fully in the Complaint for Declaratory and Injunctive Relief

and the supporting memorandum accompanying this Motion, there is a reasonable

likelihood that Plaintiffs will succeed on the merits of their claims at trial, because Act

629 of the 94th General Assembly of Arkansas violates the Supremacy and Commerce

Clauses of the United States Constitution, constitutes an impermissible regulatory

taking, and is void for vagueness in violation of the Due Process Clause of the Fifth

and Fourteenth Amendments.



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       Specifically, the federal Agriculture Improvement Act of 2018 materially

preempts Act 629, which therefore violates the Supremacy Clause, because it

impermissibly narrows the definition of hemp by making production infeasible,

recriminalizing certain popular hemp-derived cannabinoid products, including Delta-

8, and because it places an impermissible restriction on the transportation of those

hemp products through Arkansas. This prohibition on the possession and transport of

certain hemp products through Arkansas also violates the Commerce Clause by

outlawing the interstate commerce of those hemp products declared legal under

federal law. Additionally, Act 629 constitutes an impermissible regulatory taking,

because it effectively creates a total ban of hemp containing any amount of

tetrahydrocannabinol, which impermissibly infringes upon the investment-backed

expectations and industries in which Plaintiffs, and other Arkansas citizens, have built

their livelihoods. Finally, Act 629 is unconstitutionally vague, because it fails to give a

person of ordinary intelligence fair notice as to what contemplated conduct is

forbidden and what is permitted with regard to the possession, transportation, and

shipment of the products it seeks to ban.

       The remaining elements for a temporary restraining order are also satisfied

here. Plaintiffs have, and will, suffer irreparable harm for which there is no adequate

remedy at law if they cannot obtain the requested injunctive relief, as Act 629 would

render their inventory of hemp crops and hemp-derived products utterly worthless,

expose them to criminal liability, and inhibit them from transporting or shipping

commodities declared legal under the 2018 Farm Bill. These harms as to farmers are

occurring now and as to those in the hemp-derived products market will occur as early



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as August 1, 2023, and affidavits pursuant to Rule 65(b)(1) support this Motion.

Likewise, undersigned counsel has made efforts to notify the Attorney General of this

filing; however, such notice should be excused given the emergency requiring a

temporary restraining order.

       The weighing of harms falls in favor of Plaintiffs, and the granting of this

injunction serves the public interest because unconstitutional actions by state actors

are per se harmful and against the citizens’ best interests.

       In addition to Plaintiffs’ accompanying Brief in Support, this Motion is

supported by the following Exhibits:

       Exhibit 1 Arkansas Tobacco Control Board Advisory

       Exhibit 2 Kentucky Hemp Order Dated February 28, 2022

       Exhibit 3 Sky Marketing Order November 8, 2021

       Exhibit 4 Declaration of Cynthia Cabrera (Sky Marketing Corporation)

       Exhibit 5 Declaration of William “Bill” Morgan (Bio Gen, LLC)

       Exhibit 6 Declaration of Scout Stubbs (Drippers Vape Shop, LLC)

       Exhibit 7 Declaration of Mary Szarmach (The Cigarette Store LLC)

       Exhibit 8 Correspondence with Solicitor General of Arkansas

       WHEREFORE, Plaintiffs, by counsel, for the reasons further set forth in the

Complaint and accompanying Brief in Support of Motion for Temporary Restraining

Order, or Alternative Motion for Preliminary Injunction, request that this enter a

temporary restraining order that enjoins Defendants from enforcing Act 629, set a

hearing, and for all other relief to which Plaintiffs are entitled.

       Dated: July 31, 2023.



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                                  Respectfully submitted,

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